Case 3:04-cr-00206-HES-MCR Document 635 Filed 08/03/05 Page 1 of 13 PageID 2000
Case 3:04-cr-00206-HES-MCR Document 635 Filed 08/03/05 Page 2 of 13 PageID 2001
Case 3:04-cr-00206-HES-MCR Document 635 Filed 08/03/05 Page 3 of 13 PageID 2002
Case 3:04-cr-00206-HES-MCR Document 635 Filed 08/03/05 Page 4 of 13 PageID 2003
Case 3:04-cr-00206-HES-MCR Document 635 Filed 08/03/05 Page 5 of 13 PageID 2004
Case 3:04-cr-00206-HES-MCR Document 635 Filed 08/03/05 Page 6 of 13 PageID 2005
Case 3:04-cr-00206-HES-MCR Document 635 Filed 08/03/05 Page 7 of 13 PageID 2006
Case 3:04-cr-00206-HES-MCR Document 635 Filed 08/03/05 Page 8 of 13 PageID 2007
Case 3:04-cr-00206-HES-MCR Document 635 Filed 08/03/05 Page 9 of 13 PageID 2008
Case 3:04-cr-00206-HES-MCR Document 635 Filed 08/03/05 Page 10 of 13 PageID 2009
Case 3:04-cr-00206-HES-MCR Document 635 Filed 08/03/05 Page 11 of 13 PageID 2010
Case 3:04-cr-00206-HES-MCR Document 635 Filed 08/03/05 Page 12 of 13 PageID 2011
Case 3:04-cr-00206-HES-MCR Document 635 Filed 08/03/05 Page 13 of 13 PageID 2012
